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41
42                            UNITED STATES DISTRICT COURT

43                             FOR THE DISTRICT OF ARIZONA

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      David Smalls,                                        CASE NO. 2:18-cv-04881-PHX-DWL

                            Plaintiff,
                                                           AMENDED JOINT STIPULATION OF
      v.                                                   DISMISSAL WITH PREJUDICE

      Glock Inc., et al.,

                             Defendants.

 1

 2          Plaintiff David Smalls (“Plaintiff”) and Defendants Glock, Inc. and Robert P. Radecki

 3   (collectively, “Defendants”), by and through their respective undersigned counsel, pursuant to

 4   Rule 41(a)(2) of the Federal Rules of Civil Procedure, hereby stipulate that all claims asserted in

 5   or otherwise relevant to this matter are hereby dismissed with prejudice.

 6          This amended joint stipulation of dismissal with prejudice is being filed to replace the one

 7   filed as Docket No. 30, which incorrectly stated that the case had been settled, when it was not

 8   settled, but rather voluntarily dismissed by the Plaintiff, subject to the consent of Defendants and

 9   pursuant to the terms hereof.

10          THEREFORE, Plaintiff and Defendants respectfully request that this Court enter an order

11   dismissing with prejudice all claims asserted in or otherwise relevant to this matter, with the parties

12   bearing their own attorney’s fees, expenses, and costs.

13          Consistent herewith, Plaintiff and Defendants consent to the Court having their case closed.

14   RESPECTFULLY SUBMITTED this 31st day of May 2019.

15

16                                                          /s/___Andrea Harris__________
17                                                          Robert Powers, Esq.
18                                                          Andrea Harris, Esq.
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              Case 2:18-cv-04881-DWL Document 31 Filed 05/31/19 Page 3 of 4




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37                                                       Local Counsel for Defendants
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39
40
41                               CERTIFICATE OF TRANSMISSION
42
43           I hereby certify that on May 31, 2019, I electronically transmitted the attached document
44   to the Clerk’s Office using the CM/ECF System for filing thereby transmitting a Notice of
45   Electronic Filing to all CM/ECF registrants.
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1                                     By: /s/ _Andrea Harris_____
2                                             Andrea Harris
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